Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 1 of 9 Page|D 1

'Fl!__`E []

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA 1[, AFR 18 AH H_ hs

CASE NO.: §Ilb%!il§_ U " `
DiaTPlCI ‘-'L
_ HOWARD COHAN, y . FT_ H(ERS FH)"R'D ORlDA
Plaintiff,
vs. INJUNCTIVE RELIEF SOUGHT

GULF COAST COMMERCIAL CORPORATION, a
Florida Corporation, also d/b/a THE INN ON FIFTH,
2=.1.&¢.-¢_1[_~.£;)~§'¢ -
De'l"endant(s). M cla b/\£
/

 

COMPLAINT
Plaintiff, HOWARD COHAN (“Plaintifr”), by and through the undersigned counsel,
hereby files this Cornplaint and sues GULF COAST COMMERCIAL CORPORATION, a
Florida Corporation, also d/b/a TI~IE INN ON FIFTH (“Defendant”), for declaratory and
injunctive relief, attorneys’ fees, expenses and costs (including, but not limited to, court costs
and expert fees) pursuant to 42 U.S.C. §12182 et. seq., and the 2010 Americans with Disabilities

Act (“ADA”) and alleges as follows:

JURISDICTION AND VENUE
l. This Court is vested with original jurisdiction over this action pursuant to 28
U.S.C. §1331 and §343 for Plaintist claims arising under Title 42 U.S.C. §12182 et. seq., based
on Defendants’ violations ot`Title III ol" the ADA. See also, 28 U.S.C. §§2201 and 2202 as Well
as the 2010 ADA Standards.
2. Venue is proper in this Court, Folt l\/lyers Division, pursuant to 28 U.S.C.
§1391(13) and Rule ].02(0) of the Local Rules of the United States District Court For the l\/Iiddle

District of Florida in that all events giving rise to the lawsuit occurred in Collier County, Florida.

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 2 of 9 Page|D 2

PARTIES

3. Plaintiff, HOWARD COHAN is sui juris and is a resident of the state of Florida
residing in Palm‘Beach County, Florida.

4. Upon information and belief, Defendant is the lessee, operator, owner and lessor
of the Real Property, which is subject to this suit, and is located at 699 5th Avenue South, Naples,
Florida 34102, (“Premises”) and is the owner of the improvements where the Premises is located.

5. Defendant is authorized to conduct, and is in fact conducting, business within the
state of Florida.

6. Plaintiff is an individual with numerous disabilities including spinal stenosis,
which causes a restriction to his spinal canal, resulting in a neurological deficit. At the time of
Plaintiff s initial visit to the Premises on October 30, 2013, and also at the time of his follow up
visit to the Premises in March 2014, (and prior to instituting this action), Plaintiff suffered from a
“qualified disability” under the ADA, and required the use of a handicap parking space, parking
access aisle and the use of a lift for pool and Jacuzzi accessibility. Plaintiff personally visited the
Premises, but was denied full and equal access and full and equal enjoyment of the facilities,
services, goods, and amenities within the Premises, even though he would be classified as a
“bona fide patron”

7. Plaintiff will avail himself of the services offered at the Premises in the future,
provided that Defendant modifies the Premises or modifies the policies and practices to
accommodate individuals who have physical disabilities

8. Completely independent of the personal desire to have access to this place of
public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

purpose of discovering, encountering and engaging discrimination against the disabled in public

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 3 of 9 Page|D 3

accommodations When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff
personally visits the public accommodation; engages all of the barriers to access, or at least of
those that Plaintiff is able to access; tests all of those barriers to access to determine whether and
the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such
discrimination; and subsequently returns to the Premises to verify its compliance or non-
compliance with the ADA and to otherwise use the public accommodation as members of the
able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also
intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,
and its maintenance of the accessible features of the Premises In this instance, Plaintiff, in
Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered barriers to
access at the Premises, and engaged and tested those barriers, suffered legal harm and legal
injury, and will continue to suffer such harm and injury as a result of the illegal baniers to access
and the ADA violations set forth herein. lt is Plaintiff’s belief that said violations will not be
corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the
near future.
VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

9. Plaintiff adopts and re-alleges the allegations stated in paragraphs l through 8
above as if fully stated herein.

lO. On July 26, 1990, Congress enacted the Americans With Disabilities Act
(“ADA”), 42 U.S.C. §12101 et. seq. Commercial enterprises Were provided one and a half (1.5)
years from enactment of the statute to implement its requirements The effective date of Title III

of the ADA Was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 4 of 9 Page|D 4

employees and gross receipts of $500,000.00 or less See 42 U.S.C. §12182; 28 C.F.R.

§36.503(3).

ll.

Congress found, among other things that:

some 43,000,000 American have one or more physical or mental disabilities and
this number shall increase as the population continues to grow older;

historically, society has tended to isolate and segregate individuals with
disabilities and, despite some improvements such forms of` discrimination against
disabled individuals continue to be a pervasive social problem, requiring serious
attention;

discrimination against disabled individuals persists in such critical areas as
employment, housing, public accommodations transportation, communication,
recreation, institutionalization, health services voting and access to public
services and public facilities;

individuals with disabilities continually suffer forms of discrimination, including
outright intentional exclusion, the discriminatory effects of architectural,
transportation, and communication barriers failure to make modifications to
existing facilities and practices Exclusionary qualification standards and criteria,
segregation, and regulation to lesser services programs benefits or other
opportunities and

the continuing existence of unfair and unnecessary discrimination and prejudice
denies people with disabilities the opportunity to compete on an equal basis and to

pursue those opportunities for Which our country is justifiably famous and

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 5 of 9 Page|D 5

accosts the United States billions of dollars in unnecessary expenses resulting
from dependency and non~productivity.
42_U.S.C. §lZlOl(a)(l)-(3),(5) and (9).

12. Congress explicitly stated that the purpose of the ADA was to:

a. provide a clear and comprehensive national mandate for elimination of
discrimination against individuals with disabilities

b. provide clear, strong, consistent, enforceable standards addressing discrimination
against individuals with disabilities and

c. invoke the sweep of congressional authority, including the power to enforce the
fourteenth amendment and to regulate commerce, in order to address the major
areas of discrimination faced on a daily basis by people with disabilities

42 U.S.C. §12101(b)(l)(2) and (4).

13. Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards
Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it
provides services to the general public and must be in compliance therewith. The building and/or
Premises which is the subject of this action, is a public accommodation covered by the ADA and
which must be in compliance therewith.

14. Defendant has discriminated and continues to discriminate against Plaintiff and
other who are similarly situated, by denying access to, and full and equal enjoyment of goods
services facilities privileges advantages and/or accommodations located at the Premises as
prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 6 of 9 Page|D 6

15. Plaintiff has visited Premises and has been denied full and safe equal access to
the facilities and therefore suffered an injury in fact.

16. Plaintiff intends to return and enjoy the goods and/or services at the Premises on
a spontaneous full and equal basis However, Plaintiff is precluded from doing so by the
Defendant’s failure and refusal to provide disabled persons with full and equal access to their
facilities at the Premises Therefore, Plaintiff continues to suffer from discrimination and injury
due to the architectural barriers that are in violation of the ADA.

17. Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
Department of Justice, Officer of the Attomey General promulgated Federal Regulations to
implement the requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA
Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part
36, under which said Department may obtain civil penalties of up to $55,000.00 for the first
violation and $l 10,000.00 for and subsequent violation.

18. Defendant is in violation of 42 U.S.C. §12182 et. seq. and the 2010 American
Disabilities Act Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia,
the following specific violations

a. Handicap parking spaces are not compliant with the amount specified by law.
2010 ADAAG §208.1;

b. Van handicap parking spaces are not compliant with the amount specified by law.
2010 ADAAG §208.2.4;

c. Handicap space is too small in width. 2010 ADAAG §502.2;

d. Handicap parking access aisle does not comply with required width and length

markings 2010 ADAAG 2010 §502.3;

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 7 of 9 Page|D 7

e. The outdoor pool does not provide an accessible means of entry required by
providing a swimming pool lift. 2010 ADAAG §242.1, §1009.2.

19. To the best of Plaintiff"s belief and knowledge, Defendant has failed to eliminate
the specific violations set forth in paragraph 18 herein.

20. Subsequent to the date of Plaintiff’s original visit to the Premises an expert
determined that the violations referenced above were still outstanding Although Defendant is
charged with having knowledge of the violations Defendant may not have actual knowledge of
said violations until this Complaint makes Defendant aware of sarne.

21. To date, the readily achievable barriers and other violations of the ADA still exist
and have not been remedied or altered in such a way as to effectuate compliance with the
provisions of the ADA.

22. Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant
Was required to make the establishment a place of public accommodation, accessible to persons
with disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant
has failed to comply with this mandate.

23. Plaintiff has retained the undersigned counsel for the filing and prosecution of this
action. Plaintiff is entitled to have his reasonable attorneys’ fees costs and expenses paid by
Defendant, pursuant to 42 U.S.C. §12205.

24. All of the above violations are readily achievable to modify in order to bring the
Premises or the Facility/Property into compliance with the ADA.

25. In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG
standard applies and all of the violations listed in paragraph 18 herein can be applied to the 1991

ADAAG standards

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 8 of 9 Page|D 8

26.

Pursuant to 42 U.S.C. §12188 this Court is vested with the authority to grant

Plaintiff’s injunctive relief, including an order to alter the Premises to make them readily

accessible to and useable by individuals with disabilities to the extent required_by the ADA and

closing the Premises until the requisite modifications are completed

WHEREFORE, Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

l.

This Court declare that the Premises owned, operated and/or controlled by
Defendant is in violation of the ADA.;

This Court enter an Order requiring Defendant to alter their facilities to make
them accessible to and usable by individuals with disabilities to the full extent
required by Title III of the ADA;

This Court enter an Order directing Defendant to evaluate and neutralize their
policies practices and procedures toward persons with disabilities for such
reasonable time so as to allow the Defendant to undertake and complete corrective
procedures to the Premises;

This Court award reasonable attomey’s fees all costs (including, but not limited
to the court costs and expert fees) and other expenses of suit to the Plaintiff; and
This Court award such other and further relief as it may deem necessary, just and

proper.

Case 2:14-cV-00223-.]ES-DNF Document 1 Filed 04/18/14 Page 9 of 9 Page|D 9

Daiedihisl§_day ar APtitl, `)Y,Olbl

WEISS LAW GROUP, P.A.
Attr)r'neysfor Plaintiff

12512 W. Atlantic Blvd.
Coral Springs, FL 33071

Tel: (954) 573-2800

Fax: (954) 573-2798

%as(£$. Weiss
.1 er.coni

ason `swla

Florida Bar No. 356890
Peter S. Leiner
Peter@`swlaw er.com
Florida Bar No. 104527

 

